                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

                                                                )
In re:                                                          )   Chapter 11
                                                                )
VER TECHNOLOGIES HOLDCO LLC, et al.,1                           )   Case No. 18-10834 (KG)
                                                                )
                                     Debtors.                   )   (Jointly Administered)
                                                                )

                                    Objection Deadline: January 18, 2019 at 4:00 p.m. (prevailing Eastern Time)
                                       Hearing Date: February 13, 2019 at 11:00 a.m. (prevailing Eastern Time)

     NOTICE OF SECOND OMNIBUS (SUBSTANTIVE) OBJECTION PURSUANT TO
          SECTION 502(b) OF THE BANKRUPTCY CODE, BANKRUPTCY
                 RULES 3003 AND 3007, AND LOCAL RULE 3007–1

   PARTIES RECEIVING THIS OMNIBUS OBJECTION TO CLAIMS SHOULD
 LOCATE THEIR NAMES AND THEIR CLAIM(S) IN THE ATTACHED EXHIBIT.
                   ————————————————
YOUR RIGHTS MAY BE AFFECTED BY THIS OBJECTION AND BY ANY FURTHER
       OBJECTION THAT MAY BE FILED AGAINST YOUR CLAIM(S).

                        PLEASE TAKE NOTICE that on January 4, 2019, the Debtors, and through the

merger effectuated via the Plan,2 Production Resource Group Inc. (“PRG”; together with the

Debtors, the “Reorganized Debtor”), by and through its undersigned counsel, filed the attached

Second Omnibus (Substantive) Objection Pursuant to Section 502(b) of the Bankruptcy Code,

Bankruptcy Rules 3003 and 3007, and Local Rule 3007–1 (the “Objection”).

                        PLEASE TAKE FURTHER NOTICE that any responses to the Objection or

the relief requested therein (a “Response”) must be made in writing, filed with the United

States Bankruptcy Court for the District Of Delaware (the “Bankruptcy Court”), 824 North

1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, include: VER Technologies HoldCo LLC (7239); CPV Europe Investments LLC (2533); FAAST Leasing
California, LLC (7857); Full Throttle Films, LLC (0487); Maxwell Bay Holdings LLC (3433); Revolution Display,
LLC (6711); VER Finco, LLC (5625); VER Technologies LLC (7501); and VER Technologies MidCo LLC (7482).
The location of the Debtors’ service address is: 757 West California Avenue, Building 4, Glendale, California
91203.
2
  The Debtors’ Plan of Reorganization was confirmed by the Court at Docket No. 647.
#8321620 v2 \016594 \0006



DOCS_DE:222503.1
Market Street, 3rd Floor, Wilmington, Delaware 19801, on or before January 18, 2019 at

4:00 p.m. (prevailing Eastern Time).

              PLEASE TAKE FURTHER NOTICE that at the same time, you must also

serve a copy of the Response, if any, upon the following: (i) the Reorganized Debtor: (a)

Joseph T. Moldovan, Esq., Morrison Cohen LLP, 909 Third Avenue, New York, NY 10022-

4784, and (b) Laura Davis Jones, Pachulski Stang Ziehl & Jones LLP, 919 North Market Street,

17th Floor, Wilmington, DE 19801; and (ii) the Office of the United States Trustee, 844 King

Street, Suite 2207, Lockbox 35, Wilmington, DE 19801.

              PLEASE TAKE FURTHER NOTICE that every Response must contain, at a

minimum, the following information:

              (a)    a caption setting forth the name of the Bankruptcy Court, the name of the
                     Debtors, the case number, and the title of the objection to which the
                     Response is directed;

              (b)    the name of the claimant and description of the basis for the amount of the
                     claim; a concise statement specifically setting forth the reasons why the
                     claim should not be disallowed by the Bankruptcy Court in the manner set
                     forth in the objection, including, but not limited to, the specific factual and
                     legal bases in support of the Response;

              (c)    all documentation or other evidence of the claim, to the extent not
                     included with the claim previously filed with the Court, upon which the
                     claimant will rely in opposing the objection;

              (d)    the address(es), if different from that or those presented in the claim, to
                     which the Debtors must return any reply to the Response; and

              (e)    the name, address and telephone number of the person possessing ultimate
                     authority to reconcile, settle, or otherwise resolve the claim.

              IF YOU FAIL TO RESPOND OR OBJECT IN ACCORDANCE WITH THIS

NOTICE, THE COURT MAY GRANT THE RELIEF REQUESTED IN THE OBJECTION

WITHOUT FURTHER NOTICE OR HEARING.



                                               2
          PLEASE TAKE FURTHER NOTICE THAT IF A RESPONSE IS

PROPERLY FILED AND SERVED IN ACCORDANCE WITH THE ABOVE PROCEDURES,

A HEARING ON THE OBJECTION WILL BE HELD ON FEBRUARY 13, 2019 AT

11:00 A.M. (PREVAILING EASTERN TIME) BEFORE THE HONORABLE KEVIN

GROSS, JUDGE OF THE UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT

OF DELAWARE, IN THE UNITED STATES BANKRUPTCY COURT, 824 NORTH

MARKET STREET, 6TH FLOOR, COURTROOM NO. 3, WILMINGTON, DELAWARE

19801. ONLY RESPONSES MADE IN WRITING AND TIMELY FILED AND RECEIVED

WILL BE CONSIDERED BY THE BANKRUPTCY COURT AT SUCH HEARING.




                                 3
Dated: Wilmington, Delaware
       January 4, 2019
                              PACHULSKI STANG ZIEHL & JONES LLP

                              /s/ Peter J. Keane
                              Laura Davis Jones (DE Bar No. 2436)
                              Peter J. Keane (DE Bar No. 5503)
                              919 N. Market Street, 17th Floor
                              P.O. Box 8705
                              Wilmington, DE 19899-8705 (Courier 19801)
                              Telephone: (302) 652-4100
                              Facsimile: (302) 652-4400
                              Email: ljones@pszjlaw.com
                                      pkeane@pszjlaw.com

                              - and -

                              Joseph T. Moldovan (Pro Hac Vice)
                              Robert K. Dakis (Pro Hac Vice)
                              David J. Kozlowski (Pro Hac Vice)
                              MORRISON COHEN LLP
                              909 Third Avenue
                              New York, NY 10022
                              Telephone: (212) 735-8600
                              Facsimile: (212) 735-8708
                              Email: bankruptcy@morrisoncohen.com
                                     rdakis@morrisoncohen.com

                              Co-Counsel for Production Resource Group and the
                              Reorganized Debtors




                                 4
